
PER CURIAM.
*111Gisselle Manzzo appeals the trial court's entry of Final Judgment, granting Deutsche Bank National Trust Company's motion for a directed verdict and dismissing her action for declaratory relief and to quiet title with prejudice. Based on the record before us, we find no reversible error in the trial court's rulings below. See, e.g., Barclay v. Rivero, 388 So.2d 321, 321-22 (Fla. 3d DCA 1980) ; Fuller v. Palm Auto Plaza, Inc., 683 So.2d 654, 655 (Fla. 4th DCA 1996) ; Horacio O. Ferrea N. Am. Div., Inc. v. Moroso Performance Prods., Inc., 553 So.2d 336, 337 (Fla. 4th DCA 1989).
Affirmed.
